









Dismissed and Memorandum Opinion filed February 26, 2003









Dismissed and Memorandum Opinion filed February 26,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00101-CV

____________

&nbsp;

ROBERT W.
LAMBERTZ, Appellant

&nbsp;

V.

&nbsp;

ANNA McCARTHY and GUNTER KNESTELE, Appellees

&nbsp;



&nbsp;

On Appeal from
County Court at Law No. 2

Harris County, Texas

Trial Court Cause
No. 783,816

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment signed January 30,
2004.&nbsp; On February 20, 2004, appellant
filed a motion to dismiss the appeal because the case has been settled.&nbsp; See Tex.
R. App. P. 42.1.&nbsp; The motion is
granted.

Accordingly, the appeal is ordered dismissed.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed February 26, 2004.

Panel consists of Justices Fowler,
Edelman and Seymore.





